           Case 2:18-cr-00101-GEKP Document 416 Filed 05/31/22 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :        CRIMINAL ACTION

                vs.                           :

AVROM BROWN                                   :        NO. 18-101-3


   DEFENDANT AVROM BROWN’S MOTION TO JOIN PRE-TRIAL MOTION TO
                   STAY JURY TRIAL (Docket #410)

       Defendant AVROM BROWN, by and through undersigned counsel, David B. Mischak,

Esquire, hereby joins in the following motion filed by defendant, Mitchell White, and avers as

follows:

       1. Avrom Brown requests permission to join Mitchell White’s Motion to Stay the

Current Jury Trial date Due to Government Breaches of Brady v. Maryland and Fed.R.Crim.P.

16. (Docket #410).

       2. The defendant was indicted by a Superseding Indictment over three years ago. Trial

had been set to proceed in this case on May 31, 2022. Shortly before the trial date, the

Government revealed additional voluminous discovery to the defense that had been overlooked

in the previous three years of discovery production.

       3. The discovery includes, but is not limited to, over 75 hours of video and audio tapes.

These materials were within the Government’s control and should have been produced over two

years ago.

       4. The discovery also includes evidence exculpatory to Avrom Brown and the failure to

provide it to the defense previously represents a breach of the Government’s discovery

obligations under Fed.R. 16 and Brady v. Maryland.


                                                  1
        Case 2:18-cr-00101-GEKP Document 416 Filed 05/31/22 Page 2 of 3




       5. The late production of discovery also includes more than 300 patient files which

contains in excess of 65,000 pages that the Government previously declined to produce without

reasonable explanation.

       6. It is further alleged that the Government has violated Mr. Brown’s Constitutional and

statutory rights to a speedy trial as guaranteed by the Sixth Amendment and the Speedy Trial

Act.

       7. In making this request, Avrom Brown neither waives his Sixth Amendment rights to a

Speedy Trial nor his Fifth Amendment Rights to Due Process and the effective assistance of

counsel. The Government’s late production of the voluminous discovery that includes Brady

material has deprived the defendant of his fundamental rights and therefore, the defendant

intends to file a motion to dismiss the superseding indictment.

       WHEREFORE, Avrom Brown respectfully requests that this Honorable Court enter an

Order granting permission to join the above-referenced Pre-Trial Motion to Stay the Jury Trial

and the arguments set forth in furtherance of the motion.

                                      Respectfully submitted,

                                      s/David B. Mischak
                                      DAVID B. MISCHAK, ESQUIRE
                                      MCMONAGLE, PERRI, MCHUGH & MISCHAK
                                      1845 Walnut Street, 19th floor
                                      Philadelphia, PA 19103
                                      (215) 981-0999; Fax (215) 981-0977
                                      dmischak@mpmpc.com



DATED: 5/27/22




                                                2
        Case 2:18-cr-00101-GEKP Document 416 Filed 05/31/22 Page 3 of 3




                              CERTIFICATE OF SERVICE



       DAVID B. MISCHAK, ESQUIRE, hereby certifies that on the date set forth below a true

and correct copy of the Defendant’s MOTION TO JOIN PRE-TRIAL MOTION, has been

served by electronic filing upon the following individuals on this date:


Christopher Parisi
Assistant United States Attorney
DEPARTMENT OF JUSTICE
615 Chestnut Street
Philadelphia, PA 19106
Christopher.Parisi@usdoj.gov

Mary Kay Costello
Assistant United States Attorney
DEPARTMENT OF JUSTICE
615 Chestnut Street
Philadelphia, PA 19106
Marykay.Costello@usdoj.gov




                                      s/David B. Mischak
                                      DAVID B. MISCHAK, ESQUIRE
                                      MCMONAGLE, PERRI, MCHUGH & MISCHAK
                                      1845 Walnut Street, 19th floor
                                      Philadelphia, PA 19103
                                      (215) 981-0999; Fax (215) 981-0977
                                      dmischak@mpmpc.com

DATED: 5/27/22




                                                 3
